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                           UNITED STATES DISTRICT COURT                               JAN 2 9 2018
                          SOUTHERN DISTRICT OF CALIFORNIA                       CLEf'I< US nlSFY'T r 1"OT
                                                                            So UTHEF'1··-,,,.lH v  -~ ,.;r,
                                                                            BY   .  " '"'" "ICT or c 1UFCJRN/A
UNITED STATES OF AMERICA,                        )     Magistrate Docket 1~~------~~,__~-\::.~-.r;~UI:Tv::J.
                                                 )
                         Plaintiff,
                                                 )
                               v.                )
                                                 )     Title 8, l!SC 1326 Attempted Entry After
                                                 )     Deportat10n
                                                 )
                                                 )     Title 8, USC 1325 Illegal Entry
Jesus Ernesto PARRA-Reyes,                             (misdemeanor)
                                                 )
                                                 )
                                                 )
                                                 )
                                                 )
                         Defendant.
~~~~~~~~~~~~-)
       The Wldersigned complainant bei~ duly sworn, states:
                                         COUNT ONE

On or about January 27, 2018, within the Southern District of California, defendant Jesus
Ernesto PARRA-Reyes, an alien, who previously had been exclude~ deported and removed
from the United States to Mexico, attempted to enter the United States with the purpose, i.e.
conscious desire, to enter the United States at or near Tecate, California, without the Attorney
General or his designated successor, the Secretary of the Department of Homeland Security
(Title 6, United States Code, Sections 202(3) <md (4), and 557), having expressly consented to
the defendant's reapplication for admission into the United States; in violation of Title 8 United
States Code, Section 1326.

                                              COUNT TWO

That on or about January 27, 2018, within the Southern District of California, defendant, Jesus
Ernesto PARRA-Reyes, an alien, did knowingly and willfully enter the United States at a time
and place other than as designated by Immigration Officers, and elude examination and
inspection by Immigration Officers, a misdemeanor; in violation of Title 8, United States Code,
Section 1325.
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 And the complainant further states that this complaint is based on the attached probable cause
 statement, which is incorporated herein by reference.



                                                    SIGNATURE OF COMPLAINANT
                                                    David R. Steiman
                                                    Border Patrol Agent

SWORN TO BEFORE ME AND SUBSCRIBED IN MY PRESENCE,
THIS 29thDAYOFJanuaiy,2018.                                  ~ ~
                                                     WILLIA~O
                                                     United States Magistrate Judge
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CONTINUATION OF COMPLAINT:
Jesus Ernesto PARRA-Reyes,



                             PROBABLE CAUSE STATEMENT
I declare under the penalty of perjury that the following statement is true and correct:

On January 27, 2018, Border Patrol Agent Agent K. Seuferer was performing his assigned
duties in the Boulevard Border Patrol Station's area of responsibility. Agent Seuferer was
wearing his full Border Patrol issued rough duty uniform. At approximately 2:05 PM, Border
Patrol Agent C. Driskell, who was operating a mobile scope, notified agents that he observed an
individual walking north from the United States/Mexico International Border, in an area known
to Border Patrol agents as "Airport Mesa". Agent Seuferer responded to the area and
encountered the individual, later identified as the defendant, Jesus Ernesto PARRA-Reyes, as
he walked down "Airport Mesa". This area is approximately 30 miles east of the Tecate,
California Port of Enny and approximately 200 yards north of the United StatesJM:exico
International Bomtdaty. Agent Seuferec conducted an immigration inspection. PARRA stated
he is a citizen of Mexico not in possession of immigration documents allowing him to enter or
remain in the United St.ates legaUy. At approximately 2:15 PM, Agent Seuferer place PARRA
under arrest.

The defendant was advised of his Miranda rights. The defendant stated that he understood his
rights and was willing to answec questions without an attorney present. The defendant stated
that he is a citizen of Mexico illegally present in the United States. The defendant admitted that
he had been previously deported from the United States and has not applied or requested
permission to re-enter the United States legally. The defendant stated that he illegally entered
the United St.ates on January 27, 2018 with an intended destination of Washington State.

Routine record checks of the defendant revealed a criminal and immigration history. A
comparison of the defendant's criminal record and current fingerprints were used to determine
the defendant's record. Official immigration records of the Department of Homeland Security
revealed the defendant was previously deported to Mexico on March 23, 2017, through El Paso,
Texas. These same records show that the defendant has not applied for permission from the
Attorney General of the United States or his designated successor, the Secretary of the
Department of Homeland Security, to return to the United States after being removed.
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CONTINUATION OF COMPLAINT:
Jesus Ernesto PARRA-Reyes,




Executed on January 28, 2018 at 12:00 PM.




On the basis of the facts presented in the probable cause statement consisting of two pages, I
find probable cause to believe that the defendant named in this probable cause statement
committed the offense on January 27~ 2018, in violation of 8 USC 1326, 8 USC 1325.

~£ADLER
   , 9it{ · ~,                                              12:39 PM, Jan 28, 2018
                                                     Dateffime
U.S. Magistrate Judge
